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                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISION

16   In re                                                    Case No. 19-30088
     PG&E CORPORATION,
17                                                            (Jointly Administered)
                    -and-
18                                                            Chapter 11
     PACIFIC GAS & ELECTRIC COMPANY,
19                 Debtors.                                   LIMITED JOINDER OF
                                                              WILDFIRE CLASS
20                                                            CLAIMANTS TO OBJECTION
     □ Affects PG&E Corporation                               OF CERTAIN INTERESTED
21   □ Affects Pacific Gas and Electric Company               PARTIES TO DEBTORS’ BAR
                                                              DATE MOTION
     ■ Affects both Debtors
22
                                                              Date: June 26, 2019
23                                                            Time: 9:30 a.m. (Pacific Time)
                                                              Place: U.S. Bankruptcy Court
24                                                            Courtroom 17, 16th Floor
                                                              San Francisco, CA 94102
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 1               Creditors Kevin Burnett, Leslie Moore, Darwin Crabtree, Sandra Crabtree, Joseph
 2   Garfield, Robert Eldridge, Benjamin Greenwald d/b/a Greenwald Pest Defense, individually and
 3   on behalf of all others similarly situated; Lore Olds d/b/a Sky Vineyards, Skyla Olds, Nancy
 4   Hitchcock, Herman Bossano, Rebecca Bailey, Ph.D. d/b/a It’s Mine Don’t Touch Trust and
 5   Transitioning Families, and Charles Holmes, individually and on behalf of all others similarly
 6   situated; Jeanette Smylie, individually and on behalf of all others similarly situated; and GER
 7   Hospitality, LLC, individually and on behalf of all others similarly situated; William N. Steel,
 8   individually and on behalf of all others similarly situated; and Karen Roberds and Anita
 9   Freeman, individually and on behalf of all others similarly situated (collectively, “Wildfire Class
10   Claimants”) hereby join Argument Section III (titled “The Debtors Seek to Prematurely and
11   Improperly Eviscerate Class Protections That Might Otherwise Protect Wildfire Claimants”) of
12   the Objection to Motion of Debtors Pursuant to 11 U.S.C. §§ 502(b)(9) and 105(a), Fed. R.
13   Bankr. P. 2002, 2003(c)(3), 5005, and 9007, and L.B.R. 3003-1 for Order (i) Establishing Filing
14   Deadline for Filing Proofs of Claim, (ii) Establishing the Form and Manner of Notice Thereof,
15   and (iii) Approving Procedures for Providing Notice of Bar Date and Other Information to All
16   Creditors and Potential Creditors (the “Objection”) filed by David Herndon, Julia Herndon,
17   Gabriell Herndon, Jedidiah Herndon, Estefania Miranda, Steven Jones, Gabriella’s Eatery, Chico
18   Rent-a-Fence, and Ponderosa Pest & Weed Control (collectively, “Objectors”) [Dkt. No. 2240],
19   and state as follows.
20                                               Limited Joinder
21               Wildfire Class Claimants are individuals and businesses who suffered financial and/or
22   property damage as a result of wildfires caused by the Debtors’ failing and improperly maintained
23   electrical equipment, including the 2017 North Bay Fires and the 2018 Camp Fire. Before the
24   Debtors filed for bankruptcy, Wildfire Class Claimants filed class action lawsuits against the
25   Debtors in state court, seeking to recover damages on behalf of themselves and others harmed by
26   the wildfires. When the Debtors filed bankruptcy, their state court proceedings were stayed
27   pursuant to 11 U.S.C. § 362. In order to preserve their claims, Wildfire Class Claimants filed
28   proofs of claim in the bankruptcy proceedings shortly after Debtors commenced their filing.

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                                                 6
 1   Wildfire Class Claimants are therefore “creditors” within the meaning of the Bankruptcy Code,
 2   11 U.S.C. § 101(10), and this Court has jurisdiction over their claims. 28 U.S.C. § 1334(a).
 3               Wildfire Class Claimants have filed a total of six proofs of claim in this proceeding on
 4   behalf of putative classes of individuals and businesses harmed by the 2017 North Bay and 2018
 5   Camp Fires. In fact, their proofs of claim are among the first lodged in the bankruptcy case’s
 6   claims register. See Northern District of California Claims Register, No. 19-30088 PG&E
 7   Corporation, Claim Nos. 1-1 (Kevin Burnett et al.), 2-1 (Lore Olds, d/b/a Sky Vineyards et al.),
 8   3-1 (Jeanette Smylie), 4-2 (GER Hospitality, LLC), 6-2 (William N. Steel), 8-2 (Karen Roberds
 9   and Anita Freeman). Each proof of claim incorporated and attached a copy of the prepetition class
10   action complaint that had been filed in state court before the automatic stay took effect.
11               In the Objection, Objectors express their concern that certain language contained in
12   Debtors’ Bar Date Motion and Proposed Order represent an attempt to “preempt the use of class
13   proofs of claim” and, if included in the Court’s ultimate order, risk “having the practical effect of
14   barring class proofs of claim in this bankruptcy.” Objection at 12-13. Wildfire Class Claimants
15   believe the Court will preserve the possibility of using class proofs of claim at an appropriate
16   time. Nevertheless, out of an abundance of caution and to avoid leaving the matter unaddressed,
17   Wildfire Class Claimants join that portion of the Objection and respectfully request that the Court
18   not issue an order at this time that would limit possible future use of class mechanisms.
19               As the Ninth Circuit has recognized, the bankruptcy code permits the use of class proofs
20   of claim. In re Birting Fisheries, Inc., 92 F.3d 939 (9th Cir. 1996). The tort claims of those
21   impacted by the 2017 North Bay and 2018 Camp Wildfires represent a substantial component of
22   this bankruptcy, involving as many as tens or hundreds of thousands of claimants who have
23   collectively suffered tens of billions of dollars in damages. Reaching those claimants, enabling
24   them to engage with the claim submission process, and ultimately resolving their claims will be a
25   substantial undertaking, and is one that is in its relatively early stages. Today, there are pending
26   motions to adopt a proof of claim form, set a bar date, and implement a notice plan to reach
27   potential claimants and inform them of their rights. There is no way to know at this time how
28   many of those affected by the wildfires will ultimately submit proofs of claim before the bar date,

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 1   or what the total value of submitted claims will be. The usefulness and appropriateness of the
 2   class proofs of claims in this case may well depend on answers to these and other questions, and
 3   the Court need not decide whether to allow class proofs of claim to proceed while all those
 4   variables remain unknown. Additionally, the question of whether to allow the use of class proofs
 5   of claim has not yet been properly presented to the Court and is not ripe for adjudication. If and
 6   when the issue arises, Wildfire Class Claimants would like the opportunity to fully brief and be
 7   heard on it.
 8                                                  Conclusion
 9               Accordingly, Wildfire Class Claimants submit this limited joinder and respectfully request
10   that the Court refrain from issuing a decision at this juncture that would limit the possible use of
11   class proofs of claim at an appropriate future time in the bankruptcy proceedings.
12

13
     Respectfully submitted,
14

15   Dated: June 24, 2019

16   By: /s/ Elizabeth J. Cabraser________
                                                           By: /s/ Rafey S. Balabanian______
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17   Robert J. Nelson (SBN 132797)                        Rafey S. Balabanian (SBN 315962)
     Lexi J. Hazam (SBN 224457)
18                                                        Todd Logan (SBN 305912)
     Fabrice N. Vincent (SBN 160780)                      J. Aaron Lawson (SBN 319306)
     Abby R. Wolf (SBN 313049)
19                                                        Lily Hough (SBN 315277)
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24   Joseph Garfield, Robert Eldridge, Benjamin            Crabtree, Joseph Garfield, Robert
     Greenwald d/b/a Greenwald Pest Defense;               Eldridge, and Benjamin Greenwald d/b/a
25   Lore Olds d/b/a Sky Vineyards, Skyla Olds,            Greenwald Pest Defense.
     Nancy Hitchcock, Herman Bossano, Rebecca
26   Bailey, Ph.D. d/b/a It’s Mine Don’t Touch
     Trust and Transitioning Families, and Charles
27   Holmes.

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 5   Counsel for Creditors Jeanette Smylie, GER      Karen Roberds, and Anita Freeman.
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     Roberds, and Anita Freeman.
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 1                                     SIGNATURE ATTESTION
 2
                    I hereby attest that I have on file all holographic signatures corresponding to any
 3
     signatures indicated by a conformed signature (/s/) within this e-filed document.
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     __
 5
                                                          /s/ Elizabeth J. Cabraser_________________
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